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Fill in this information to identify the case:
Debtor names:          Vital Pharmaceuticals, Inc.
                       Bang Energy Canada, Inc.
                       JHO Intellectual Property Holdings, LLC
                       JHO Real Estate Investment, LLC
                       Quash Seltzer, LLC
                       Rainbow Unicorn Bev LLC
                       Vital Pharmaceuticals International Sales, Inc.

United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF                                                 Check if this is an
                                                    FLORIDA
Case numbers (if known):                                                                                                 amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual
Debtors                                                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature


I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
correct:

       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       Schedule H: Codebtors (Official Form 206H)
       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       Amended Schedule
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
       Not Insiders (Official Form 204)
       Other document that requires a declaration

 I declare under penalty of perjury that the foregoing is true and correct.

   Executed on:      October 10, 2022                  /s/ John C. DiDonato
                                                       Signature of individual signing on behalf of the Debtors.

                                                       John C. DiDonato
                                                       Printed name

                                                       Chief Transformation Officer
                                                       Position or relationship to Debtors
